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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA



IN THE MATTER OF THE SEARCH OF
1006 BULLITT AVENUE SE, ROANOKE,
VA 24013, TO INCLUDE ALL                            UNDER SEAL
OUTBUILDINGS, VEHICLES AND THE
CURTILAGE SURROUNDING THE                           Case No. 7:21mj157
PROPERTY



                             AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION TO SEARCH AND SEIZE


       I, Jason Shilling, being first duly sworn, hereby depose and state as follows:


                      INTRODUCTION AND AGENT BACKGROUND


       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant to search the premises, outbuildings, and

curtilage of the location known as 1006 Bullitt Avenue SE, Roanoke, VA 24013 (Target

Address 1). Target Address 1 is located in the City of Roanoke, Virginia, within the Western

District of Virginia further described in Attachment A, for the things described in Attachment B.


       2.      I am a Task Force Officer with the Drug Enforcement Administration, and have

been since September 2019. I have been employed by the Salem Police Department since

January 2015. Prior to this DEA assignment, I spent 2 years assigned to the Salem Police

Department Special Investigations Unit as a narcotics detective with the Roanoke Valley

Regional Drug Unit. During these assignments, I have made narcotics arrests that have led to

convictions at both the State and Federal levels. I am familiar with the methods and patterns of

illegal drug trafficking at both the street and wholesale level. I have participated in the
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debriefings of defendants, informants, and witnesses who had personal knowledge of major drug

trafficking organizations. Additionally, I have experience with observing drug related electronic

communications in defendants’ cellular phone downloads and have observed drug-related

communications that have been captured in law enforcement covert recording equipment. I know

from my training and experience that drug dealers commonly safeguard illegal narcotics and

proceeds from drug distribution inside their residences. Also, I know from my training and

experience that cellular devices are used to facilitate drug trafficking. I am further aware that the

memory contents of these cellular devices often contain information of significant evidentiary

value.


         3.    The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

only to establish sufficient probable cause for the requested search warrant and does not set forth

all of my knowledge about this matter.


         4.    Based on my training and experience and the facts set forth in this affidavit, there

is probable cause to believe that Target Address 1 contains evidence of violations of

distribution and possession with intent to distribute controlled substances, in violation of Title

21, United States Code, Section 841, and conspiracy to distribute controlled substances, in

violation of Title 21, United States Code, Section 846. There is probable cause to search the

location described in Attachment A for evidence, contraband, and/ or fruits of these crimes

further described in Attachment B.




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               IDENTIFICATION OF THE PROPERTY TO BE SEARCHED


       5.      The property to be searched is as follows:


            a. Target Address 1 is a residence located at 1006 Bullitt Avenue SE, Roanoke, VA

               24013. Target Address 1 is described as a single family residence with grey

               siding and white trim. The numbers “1006” are affixed to the right of the front

               door as well directly above the access point to the front porch (See Attachment

               A). It is believed that John Luther BRUCE uses this location as his primary

               residence as well as a storage location for narcotics.


                           STATEMENT OF PROBABLE CAUSE


       6.      Since March 2021, the Drug Enforcement Administration (DEA) has been

investigating John Luther BRUCE as a distributor of narcotics, specifically crystal

methamphetamine, in the Roanoke, VA area.


       7.      In March 2021, DEA Investigators met with a DEA confidential source who

spoke about his/her knowledge of John BRUCE’s narcotics distribution. The confidential source

identified BRUCE as a methamphetamine distributor. The confidential source also stated that

he/she has seen multiple pound quantities of methamphetamine at BRUCE’s residence.


       8.      In May 2021, the DEA conducted a controlled purchase of a quantity of

methamphetamine utilizing a confidential source (CS). The CS made contact with BRUCE on a

recorded phone call to initiate the transaction. John BRUCE made arrangements for the CS to

meet with BRUCE’s wife, Dorothy Jane BRUCE, at their residence of 819 Highland Avenue SE,

Roanoke, VA 24013. John BRUCE has since moved from this location to Target Address 1.
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The confidential source paid Dorothy BRUCE in U.S. currency for the quantity of

methamphetamine. During the deal, Dorothy BRUCE went upstairs in the residence and returned

with the quantity of narcotics, indicating that distributable amounts of methamphetamine were

being stored in the residence.


       9.      In October 2021, Virginia State Police Drug Enforcement Section conducted a

controlled purchase of a quantity of methamphetamine with John Luther BRUCE as the supplier

of the narcotics. Prior to the transaction, surveillance was established at 1006 Bullitt Avenue SE,

Roanoke, VA 24013. John BRUCE was observed walking from the rear of the residence and

entering a green Ford F-150 pickup truck bearing VA registration UEE-9796. Surveillance units

followed BRUCE to the predetermined meeting location in Roanoke, VA where the confidential

source paid BRUCE in U.S. currency for the quantity of methamphetamine. BRUCE was not

observed making any stops between Target Address 1 and the location of the deal which

indicates the narcotics were stored in Target Address 1.


       10.     In November 2021, Virginia State Police Drug Enforcement Section conducted a

second controlled purchase of a quantity of methamphetamine with John Luther BRUCE as the

supplier of the narcotics. The CS spoke with John BRUCE on a recorded phone call to set up the

narcotics transaction, during which BRUCE provided a location for the transaction. Prior to the

transaction, surveillance units located BRUCE and a green Ford F-150 (VA Registration: UEE-

9796), which was registered to John BRUCE, near the area where BRUCE advised the CS to

meet. BRUCE was seen meeting with an unidentified male subject and an unidentified female

subject before the CS met BRUCE at a predetermined location in Roanoke, VA and paid

BRUCE with U.S. currency for the quantity of methamphetamine.

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       11.      During the past 72 hours, your affiant has conducted surveillance at Target

Address 1. During surveillance, John BRUCE has been seen entering/ exiting the residence.

Additionally, BRUCE’s green Ford F-150 (VA Registration: UEE-9796) has been seen parked

behind Target Address 1.


       12.      Based upon my training, expertise, and experience, I know that:


             a. Distributors of controlled substances and money launderers often keep ledger

                books, telephone books, receipts, drug/money customer lists, photographs and

                other papers that identify co-conspirators and their locations or residences and

                that relate to the importation, transportation, purchasing and distribution of

                controlled substances and proceeds derived from said sales;

             b. Drug traffickers generate substantial profits because of drug dealing which the

                courts have recognized as probative evidence of crimes motivated by greed, in

                particular, trafficking controlled substances. Drug traffickers often place assets in

                corporate entities in order to avoid detection of those assets by law enforcement

                agencies. These assets often are placed in other person’s names, even though the

                drug dealers continue to use these assets and exercise dominion and control over

                them. They also often maintain on hand large amounts of United States currency

                in order to operate and finance their ongoing drug business;

             c. Drug traffickers commonly “front” (i.e. provide on consignment) controlled

                substances to their clients and the aforementioned books, records, receipts, notes,

                ledgers, etc. are maintained where the drug traffickers have ready access to them.

                It is common practice for large-scale drug dealers to conceal contraband, proceeds

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            and drug sales and records of drug transactions in secure locations within their

            residences, stash houses, and/or places of business for ready access and to conceal

            such items from law enforcement authorities. Persons involved in large scale drug

            trafficking often conceal in their residences, stash houses, and/or places of

            business, caches of drugs, large amounts of currency, financial instruments,

            precious metals, jewelry, automobile titles and other items of value which are

            proceeds of drug transactions and evidence of financial transactions relating to

            obtaining, transferring, secreting or spending large sums of money acquired from

            engaging in narcotics trafficking activities;

       d.   When drug traffickers amass large proceeds from the sale of drugs, they often

            attempt to legitimize or “launder” these profits. To accomplish this, drug

            traffickers may utilize, but are not limited to, domestic and foreign banks and/or

            financial institutions and their attendant services, such as securities, cashier’s

            checks and money drafts;

       e. It is common practice for large-scale drug traffickers to travel to their source and

            distribution points to facilitate their trafficking. After purchasing their drugs, drug

            traffickers often transport or cause to be transported their drugs to areas in which

            they will distribute them. The methods of transportation include, but are not

            limited to, commercial carriers, private airplanes, ocean going motor vessels,

            rental or private automobiles, and government or contract mail carriers;

       f. Drug traffickers commonly cause to be taken photographs of themselves, their

            associates, their property and items used in the distribution of controlled



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                substances. These traffickers usually maintain these photographs at their

                residences or places of business;

             g. Narcotics traffickers use safes, surreptitious compartments and money counting

                machines to count and store the profits of their narcotics business;

             h. Narcotics traffickers commonly possess at their residences, stash houses, or places

                of business, drugs, paraphernalia, and materials for packaging, cutting, weighing

                and distributing heroin, including, but not limited to scales, plastic wrap, plastic

                baggies, paper slips, tin foil, stamp pads, stamp ink and various cutting agents;

             i. Drug traffickers commonly use electronic devices and storage components

                including, but not limited to, cellular telephones, computers, telex machines,

                facsimile machines, currency counting machines, telephone answering machines,

                computer software, tapes, discs, CD, DVDs, and audio tapes to store records of

                drug sales, ledgers, supplier’s/customer’s contact information, financial records,

                images, audio/video recordings and other related documents related to the

                trafficking and sale of narcotics;

       13.      Based on the aforementioned, your affiant respectfully submits that there is

probable cause to believe that U.S. currency, documentation, and/ or other items related to the

illegal distribution of narcotics further described in Attachment B will be located in Target

Address 1.


       COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS


       14.      As described above and in Attachment B, this application seeks permission to

search for records that might be found at Target Address 1, in whatever form they are found.

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One form the records might be found is data stored on a computer’s hard drive or other storage

media. Thus, the warrant applied for would authorize the seizure of electronic storage media or,

potentially, the copying of electronically stored information, all under Rule 41 (e)(2)(B).


       15.      Probable Cause. I submit that if a computer or storage medium is found at the

Target Address 1, there is probable cause to believe relevant records will be stored on that

computer or storage medium, for at least the following reasons:


             a. Based on my knowledge, training, and experience, I know that computer files or

                remnants of such files can be recovered months or even years after they have been

                downloaded onto a storage medium, deleted, or viewed via the Internet.

                Electronic files downloaded to a storage medium can be stored for years at little

                or no cost. Even when files have been deleted, they can be recovered months or

                years later using forensic tools. This is so because when a person “deletes” a file

                on a computer, the data contained in the file does not actually disappear; rather,

                that data remains on the storage medium until it is overwritten by new data.


             b. Therefore, deleted files, or remnants of deleted files, may reside in free space or

                slack space—that is, in space on the storage medium that is not currently being

                used by an active file—for long periods of time before they are overwritten. In

                addition, a computer’s operating system may also keep a record of deleted data in

                a “swap” or “recovery” file.


             c. Wholly apart from user-generated files, computer storage media—in particular,

                computers’ internal hard drives—contain electronic evidence of how a computer


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                has been used, what it has been used for, and who has used it. To give a few

                examples, this forensic evidence can take the form of operating system

                configurations, artifacts from operating system or application operation; file

                system data structures, and virtual memory “swap” or paging files. Computer

                users typically do not erase or delete this evidence, because special software is

                typically required for that task. However, it is technically possible to delete this

                information.


       16.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the device was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on any storage medium in Target

Address 1 because:


             a. Data on the storage medium can provide evidence of a file that was once on the

                storage medium but has since been deleted or edited, or of a deleted portion of a

                file (such as a paragraph that has been deleted from a word processing file).

                Virtual memory paging systems can leave traces of information on the storage

                medium that show what tasks and processes were recently active. Web browsers,

                e-mail programs, and chat programs store configuration information on the

                storage medium that can reveal information such as online nicknames and

                passwords. Operating systems can record additional information, such as the

                attachment of peripherals, the attachment of USB flash storage devices or other

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           external storage media, and the times the computer was in use. Computer file

           systems can record information about the dates files were created and the

           sequence in which they were created, although this information can later be

           falsified.

        b. Forensic evidence on a device can also indicate who has used or controlled the

           device. As explained herein, information stored within a computer and other

           electronic storage media may provide crucial evidence of the “who, what, why,

           when, where, and how” of the Criminal conduct under investigation, thus

           enabling the United States to establish and prove each element or alternatively, to

           exclude the innocent from further suspicion. In my training and experience,

           information stored within a computer or storage media (e.g., registry information,

           communications, images and movies, transactional information, records of

           session times and durations, internet history, and anti-virus, spyware, and

           malware detection programs) can indicate who has used or controlled the

           computer or storage media. This “user attribution” evidence is analogous to the

           search for “indicia of occupancy” while executing a search warrant at a residence.

           The existence or absence of anti-virus, spyware, and malware detection programs

           may indicate whether the computer was remotely accessed, thus inculpating or

           exculpating the computer owner. Further, computer and storage media activity

           can indicate how and when the computer or storage media was accessed or used.

           For example, as described herein, computers typically contain information that

           log: computer user account session times and durations, computer activity

           associated with user accounts, electronic storage media that connected with the

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           computer, and the IP addresses through which the computer accessed networks

           and the internet. Such information allows investigators to understand the

           chronological context of computer or electronic storage media access, use, and

           events relating to the Crime under investigation. Additionally, some information

           stored within a computer or electronic storage media may provide crucial

           evidence relating to the physical location of other evidence and the suspect. For

           example, images stored on a computer may both show a particular location and

           have geolocation information incorporated into its file data. Such file data

           typically also contains information indicating when the file or image was created.

           The existence of such image files, along with external device connection logs,

           may also indicate the presence of additional electronic storage media (e.g., a

           digital camera or cellular phone with an incorporated camera). The geographic

           and timeline information described herein may either inculpate or exculpate the

           computer user. Last, information stored within a computer may provide relevant

           insight into the computer user’s state of mind as it relates to the offense under

           investigation. For example, information within the computer may indicate the

           owner’s motive and intent to commit a Crime (e.g., internet searches indicating

           Criminal planning), or consciousness of guilt (e.g., running a “wiping” program to

           destroy evidence on the computer or password protecting/encrypting such

           evidence in an effort to conceal it from law enforcement).


        c. A person with appropriate familiarity with how an electronic device works may,

           after examining this forensic evidence in its proper context, be able to draw


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                conclusions about how electronic devices were used, the purpose of their use, who

                used them, and when.


             d. The process of identifying the exact electronically stored information on a storage

                medium that are necessary to draw an accurate conclusion is a dynamic process.

                Electronic evidence is not always data that can be merely reviewed by a review

                team and passed along to investigators. Whether data stored on a computer is

                evidence may depend on other information stored on the computer and the

                application of knowledge about how a computer behaves. Therefore, contextual

                information necessary to understand other evidence also falls within the scope of

                the warrant.


             e. Further, in finding evidence of how a device was used, the purpose of its use, who

                used it, and when, sometimes it is necessary to establish that a particular thing is

                not present on a storage medium.


       17.      Necessity of seizing or copying the entire computers or storage media. In most

cases, a thorough search of a premise for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make

an image copy of storage media. Generally speaking, imaging is the taking of a complete

electronic picture of the computer’s data, including all hidden sectors and deleted files. Either

seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded

on the storage media, and to prevent the loss of the data either from accidental or intentional

destruction. This is true because of the following:
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           a. The time required for an examination. As noted above, not all evidence takes

           the form of documents and files that can be easily viewed on site. Analyzing

           evidence of how a computer has been used, what it has been used for, and who

           has used it requires considerable time, and taking that much time on premises

           could be unreasonable. As explained above, because the warrant calls for forensic

           electronic evidence, it is exceedingly likely that it will be necessary to thoroughly

           examine storage media to obtain evidence. Storage media can store a large

           volume of information. Reviewing that information for things described in the

           warrant can take weeks or months, depending on the volume of data stored, and

           would be impractical and invasive to attempt on-site.

           b. Technical requirements. Computers can be configured in several different

           ways, featuring a variety of different operating systems, application software, and

           configurations. Therefore, searching them sometimes requires tools or knowledge

           that might not be present on the search site. The vast array of computer hardware

           and software available makes it difficult to know before a search what tools or

           knowledge will be required to analyze the system and its data on the premises.

           However, taking the storage media off-site and reviewing it in a controlled

           environment will allow its examination with the proper tools and knowledge.

           c. Variety of forms of electronic media. Records sought under this warrant could

           be stored in a variety of storage media formats that may require off-site reviewing

           with specialized forensic tools.




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       18.    Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the devices

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the device to human inspection in order to determine whether it contains evidence

described by the warrant.


                                         CONCLUSION


              19.      I submit that this affidavit supports probable cause for a search warrant of

       the properties described in Attachment A, in order to seek the items described in

       Attachment B.


                                                   Respectfully Submitted,




                                                   S/ Jason Shilling
                                                   Jason Shilling
                                                   Task Force Officer
                                                   Drug Enforcement Administration


       Subscribed and sworn by telephone on November 19, 2021.

                 Robert S. Ballou
       _________________________________________
       UNITED STATES MAGISTRATE JUDGE




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